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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION


    UNITED STATES OF AMERICA

    v.                                                         CASE NO. 8:01-cr-190-T-23MAP

    JOHN CAISEDO CASTRO
    _________________________________/

                                                   ORDER

           On October 4, 2006, the United States Probation Office filed a September 28,

    2006, petition for revocation of the defendant's supervised release (Doc. 198).* At the

    hearing on January 26, 2007, appointed counsel, Lori Palmieri, represented the

    defendant and Assistant United States Attorney James Muench represented the United

    States.

           The defendant admits committing the two Grade A violations described in

    numbered paragraphs one and two of the petition. Accordingly, the court adjudges the

    defendant guilty of violating the terms of his supervised release, and the defendant's

    term of supervised release is REVOKED.

           In consideration of the factors specified in 18 U.S.C. § 3553(a), including

    applicable guidelines and policy statements issued by the United States Sentencing

    Commission, the defendant is sentenced to thirty (30) months of imprisonment with no




            *
             The defendant having pled guilty to counts one and two of a superseding indictment, the court
    imposed a sentence on November 1, 2002, of fifty-one months of imprisonment as to each count to run
    concurrently and thirty-six months of supervised release as to each count to run concurrently.
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    supervised release to follow. The term of imprisonment shall run consecutively to the

    sentence imposed in 8:06-cr-379-T-30EAJ.

          The defendant is remanded to the custody of the United States Marshal to await

    designation and incarceration by the Bureau of Prisons.

          ORDERED in Tampa, Florida, on January 29, 2007.




    cc:   United States Marshal
          United States Probation
          Counsel of Record




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